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             IN THE UNITED STATES DISTRICT COURT OF MARYLAND
                            BALTIMORE DIVISION



 BROTHERS CONVENIENCE STORE, INC
 HERSHAM A. GHALEB
 MAHED A. GHALEB

       PLAINTIFFS’
                                                          Civil Case No.: 1:20-cv-01346
 VS-

 UNITED STATES DEPARTMENT OF
 AGRICULTURE

       DEFENDANT


    MEMORANDUM OF LAW IN OPPOSITION TO DEFENDANT’S MOTION TO
      DISMISS OR IN THE ALTERNATIVE FOR SUMMARY JUDGEMENT

       NOW COMES, Brother Convenience Store, Inc. (“BCSI”) Hersham A. Ghaleb, and

Mahed A. Ghaleb, (hereinafter referred as the “Plaintiffs “, collectively), by and through their

undersigned counsel, and hereby files their Memorandum of Law in Opposition to the Defendant,

United States Department of Agriculture’s Motion to Dismiss or In the Alternative for Summary

Judgment, and for reasons state:

                                   I.    FACTUAL HISTORY

       The Supplemental Nutrition Assistance Program (SNAP) is the nation’s largest domestic

food assistance program, serving over 42.1 million recipients in an average month at a federal cost

of over $68 billion in FY2017. SNAP is jointly administered by state agencies, which handle most

recipient functions, and the federal government—specifically, the U.S. Department of

Agriculture’s Food and Nutrition Service (USDA-FNS)—which supports and oversees the states

and handles most retailer functions. SNAP, formerly known as the “Food Stamp Program,” is



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responsible for providing monetary benefits to poor families for the sole purpose of permitting

them to purchase food. 7 U.S.C. §2011. It is codified at 7 U.S.C. §§2011-2036(c). The United

States Department of Agriculture is tasked with overseeing the program, which in pertinent part,

involves the authorization and reauthorization of food retailers to sell food to the SNAP

participants.

       This action originates as a result of a May 5, 2019, Final Agency Decision (“FAD”) of the

United States Department of Agriculture’s decision affirming a Permanent Disqualification upon

Plaintiffs from participation as an authorized retailer in SNAP rendered by FNS Retailers

Operation Division based on alleged violations of 7 U.S.C. §2021 and 7 CFR 271.2. (AR. 400

through AR. 414). Plaintiffs are seeking de novo review of this decision, as there is no reasonable

articulable dispute that the Complaint, at least, at the pleading’s stages, alleges a cause of action

for judicial review of the FAD.

       Moreover, this Court is not bound to the Administrative Record in this case, nor is the

administrative record immune from the rules of evidence. It is important to note that discovery,

which is afforded under the rules, has not commenced, nor has any depositions been conducted.

Furthermore, Plaintiffs did not have an opportunity to review the Administrative Record prior to

the filing of the instant Motion, nor has the government witnesses ever been cross examined

respecting their analysis of this case.


                                  II.     STANDARD OF REVIEW

   a. Motion to Dismiss

       Dismissal under Rule 12 is “merely a decision on the pleadings. For that reason, such

motions are granted sparingly and with caution.” See Hospital Bldg. Co. v. Trustees of Rex Hosp.,

511 F.2d 678, 680 (4th Cir. 1975) rev’d on other grounds, 425 U.S. 738, 96 S. Ct. 1848, 48 L. Ed.


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2d 338 (U.S.N.C. 1976). “Dismissal under Rule 12(b)(6) is appropriate only if a plaintiff fails to

state a claim that is plausible on its face.” Owens v. Baltimore City State’s Attorney’s Office, 767

F. 3d 379, 396 (4th Cir. 2014). In ruling on a 12(b)(6) motion to dismiss, this Court must “accept

the well-played allegations of the complaint as true,” and “construe the facts and reasonable

inferences derived therefrom in the light most favorable to the plaintiff.” Ibarra v. United States,

120 F. 3d 472, 474 (4th Cir. 1997). Consequently, a motion to dismiss may be granted only when

“it appears beyond doubt that the plaintiff can prove no set of facts in support of his claim which

would entitle him to relief.” Conley v. Gibson, 355 U.S. 41, 450-46 (1957); See also Flood v. New

Hanover County, 125 F. 3d 249, 251 (4th Cir. 1997) (citing Estate Constr. Co. v. Miller & Smith

Holding Co., 14 F. 3d 213, 217-18 (4th Cir. 1994))( “to dismiss a complaint pursuant to Rule

12(b)(6), the court must consider the well-pleaded material allegations in the light most favorable

to the Plaintiff and accept those factual allegations as true.”) Furthermore, the court must

“disregard the contrary allegations of the opposing party.” Gillespie v. Dimension Health Corp.,

396 F. Supp 2d 636, 640 (D. Md. 2005).

       As stated above, a motion to dismiss for failure to state a claim for relief should not be

granted if the complaint is plausible on its face. See Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)

(citing Bell Atlantic Corp v. Twombly, 550 U.S. 544, 570 (2007)). A claim has ‘facial plausibility

when the pleaded factual content allows the court to draw the reasonable inference that the

defendant is liable for the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678. Thus, it is

incumbent on the defendants to prove that plaintiff’s complaint does not allow the Court “to draw

the reasonable inference that the defendant is liable for the misconduct alleged.” Id. at 681; See

also Bing v. General Motors Acceptance Corp., 237 F. Supp. 911, 912 (E.S.S.C. 1965) (quoting

Conley v. Gibson, 355 U.S. 41, 45 (1957)) (“A complaint should not be dismissed…unless it




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appears beyond doubt that the plaintiff can prove no set of facts in support of his claim which

would entitle him to relief.”) By rule, in order to maintain the motion as a motion to dismiss, the

defendant must prove these elements without presenting evidence extrinsic to the plaintiff’s

complaint. Fed. R. Cic. Pro. 12(d). Extrinsic evidence is not germaine to the Court’s analysis

because “[t]he issue is not whether the plaintiff will ultimately prevail but whether the claimant is

entitled to offer evidence to support the claims.” Swierkiewicz v. Sorema N.A., 524 U.S. 506, 511

(2002).

                                       III.    ARGUMENT


   a) Plaintiff Has Stated A Claim Upon Which Relief Could Be Granted

          The crux of the Defendant’s argument is that Plaintiffs Complaint fails to state a claim

upon which relief could be granted. Defendant further alleges that the Complaint sets forth

incorrect statements of law and conclusory allegations that are not entitled to a presumption of

truth. The Plaintiff believes and avers that there are sufficient allegations in the Complaint to state

a claim and notes that this is an appeal from an administrative agency which places an extreme

burden on the Plaintiff, regardless of the Defendant not providing specific information needed to

be able for Plaintiff to formulate a defense to these proceedings.

          Plaintiff contends that the administrative action of the Defendant was arbitrary and

capricious, because the Defendant never spoke to witnesses, which would have been the customers

who were purported co-conspirators in the alleged trafficking. The agency did not conduct a basic

investigation, as would have been expected of a Federal Agency asserting the serious allegations

that, by all intents and purposes, the Plaintiffs engaged in a scheme to defraud the United States of

America, without any supporting evidence.




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        As SNAP recipients, customers have an obligation to cooperate with the Defendant and its

agents, thus, conducting a comprehensive investigation to determine if the suspected trafficking

actually occurred would have served the ends of justice, and was essential and necessary to ensure

that Plaintiffs due process rights were not violated. Instead, the Robert Deegan, The Administrative

Law Judge (ARO) relies solely upon the confusing and speculative data in support of his decision

to adjudge the Plaintiffs guilty of trafficking and subsequently issuing a permanent

disqualification.

        The Defendant argument that the customer charges were excessively high, amounts to

nothing more the purposeful hyperbole and abstruse reasoning. The charges were issued based on

a purported pattern, instead of actual evidence. (AR. 243 though AR. 270; AR. 271 though AR.

294 and AR. 378 though AR. 379). The FAD goes onto describe that the Plaintiffs lacked a

stocking unit of three different varies of each staple of food categories. Moreover, even assuming

arguendo that the Plaintiffs did not have sufficient food, which it did, it should not have been

flagged suspicious, especially in light of the Defendant’s own guidelines which indicates non-food

items are at the tip of the list with respect to sales across all markets. Specifically, in the

Defendant’s November 2016, Nutrition Assistance Program Report entitled “Foods Typically

Purchased By Supplemental Nutrition Assistance Program (SNAP) Households

Appendices”1, they rank food items by categories. Specifically, they found that [Soft Drinks] was

the number one item purchased using the SNAP program. See Exhibit A, Appendix A-1. According

to the Defendant, customers, like the ones Plaintiffs is being accused of trafficking, spent

$357,000,000 (three hundred fifty-seven million dollars) in soft drinks alone. Using the

Defendant’s own data, if a customer were to come in and purchase ten (10) two litter sodas at


1
 See https://www.fns.usda.gov/snap/foods-typically-purchased-supplemental-nutrition-assistance-program-snap-
households


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$3.00 each, then purchased a gallon of milk at $3.00, 2 loafs of bread for $1.99 each and 4 waters

at $1.50 each, for a total order of $42.98, that transaction would run afoul of SNAP regulations,

despite, no statutory basis preventing such a sale. This is why a thorough investigation should have

been conducted because the data that the Defendant has provided is not reliable without additional

testing. As is evident by the record, Plaintiffs carries significant bulk items, which, will permit the

customer to have a variety of items to choose from.

       The Defendant has pointed to no SNAP regulation, or statutory authority, that prevents a

consumer from purchasing large quantities of approved items. In fact, most SNAP recipients have

multiple children, and may not have transportation to go to a supermarket, hence, the need for

Convenience Stores in low-income communities. Further, the Defendant has cited to not one case

or provided any legal authority to suggest that a business owner, like the Plaintiffs, is prohibited

from selling approved SNAP items in more than one quantity, even in bulk, yet it seeks to sanction

Plaintiffs’, without any evidence, whatsoever of them violating the regulations. The decision was

arbitrary, capricious and a violation of Plaintiffs substantive due process rights under the fifth

amendment.

       A Review of the facts in a light most favorable to the Plaintiffs, this court must find that at

the pleading stages, Plaintiffs have alleged sufficient facts to show that their disqualification from

the SNAP program was lacking in due process, and that their disqualification and subsequent

review is appropriate.

   b) Plaintiffs Request Leave To Amend Their Complaint To Cure Any Alleged Deficiency
      Less Justice Triumph.

       Should the court find that Plaintiffs Amended Complaint is deficient in anyway, Plaintiffs

seek leave of the Court to Amend the Complaint, to correct same. It is axiomatic that a motion for

permission to amend the complaint is governed by Rule 15(a), which directs the Court to “freely


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give leave when justice so requires.” Fed. R. Civ. P. 15(a)(2). The Fourth Circuit has stated that

leave to amend under Rule 15(a) should be denied only in three situations: when the opposing

party would be prejudiced, when the amendment is sought in bad faith, or when the proposed

amendment would be futile. Laber v. Harvey, 438 F.3d 404, 426 (4th Cir. 2006).

       This Court have stated in a situation where defendants are aware of the circumstances

giving rise to the action, no prejudice can be claimed.” Matrix Capital Management Fund, LP v.

BearingPoint, Inc., 576 F.3d 172, 195 (4th Cir. 2009) (citing Edwards v. City of Goldsboro, 178

F.3d 231, 243 (4th Cir.1999) (noting that merely adding specificity to allegations generally does

not cause prejudice to the opposing party); Davis v. Piper Aircraft Corp., 615 F.2d 606, 613 (4th

Cir.1980) ( “Because defendant was from the outset made fully aware of the events giving rise to

the action, an allowance of the amendment could not in any way prejudice the preparation of

defendant's case.”).

        The interests of justice and judicial economy will undoubtedly be served by having all

allegations properly before the Court. The amendments would be narrowly tailored to reflect the

present circumstances and Plaintiff’s present understanding of the case. In so doing, the action can

more effectively proceed on the merits.

   c) The Defendant’s Motion for Summary Judgment Should Be Denied Or In The
      Alternative Stayed As Premature To Permit Plaintiff Meaningful Discovery

   In the alternative, the Defendant’s has requested that this court should rule on the merits of the

complaint, based on an inaccurate record, without affording Plaintiffs discovery. At the outset, a

judgment under the Federal Rules of Civil Procedure Rule 56 may be entered only [where “the

pleadings, depositions, answers to interrogatories and admissions on file, together with affidavits],

if any show that there is no genuine issue as to any material fact and that the moving party is

entitled to summary judgment as a matter of law.”


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   The Court’s role under Rule 56 is limited to assessing the threshold issue of whether a genuine

issue exists as to material facts requiring a trial. Anderson Liberty v. Lobby, Inc., 477 U.S. 242,

249 (1986). In the context of this evaluation, the evidence of the non-moving party is to be believed

as true, all doubts will be resolved against the moving party, all evidence will be construed in the

light most favorable to the non-moving party, and all reasonable inferences will be drawn in the

non-moving party’s favor. See, Hunt v. Cromartie, 526 U.S. 541, 550-55 (1999); see also Anderson

Liberty, 477 U.S. at 255. See also Iraq Middle Mkt. Dev. Found. v. Harmoosh, 848 F.3d 235, 238

(4th Cir. 2017) ("A court can grant summary judgment only if, viewing the evidence in the light

most favorable to the non-moving party, the case presents no genuine issues of material fact and

the moving party demonstrates entitlement to judgment as a matter of law."). “Summary Judgment

will not lie if the dispute about a material fact is ‘genuine,’ that is, if the evidence is such that a

reasonable jury could return a verdict for the nonmoving party.” Anderson Liberty, 477 U.S. at

248.

   Plaintiff has not had an opportunity to conduct meaningful discovery to test the evidence in

order to meet his burden in this case. Consequently, A Rule 56(d) affidavit is attached hereto as

Exhibit B. Summary judgment is inappropriate "where the parties have not had an opportunity for

reasonable discovery." E. I. du Pont de Nemours & Co. v. Kolon Indus., Inc., 637 F.3d at 448. To

raise adequately the issue that discovery is needed prior to summary judgment, the nonmovant

typically must file an affidavit or declaration pursuant to Rule 56(d) (formerly Rule 56(f)),

explaining why, "for specified reasons, it cannot present facts essential to justify its opposition"

without needed discovery. Fed. R. Civ. P. 56(d).

       Discovery is necessary in this matter for the reasons set forth therein, and hereunder, but has

not occurred. With no discovery having been conducted, it’s hard to imagine how the Plaintiffs




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could reasonably be expected to compile and submit evidence. Plaintiffs need discovery on the

following topics:

   a) All data, records, computer programs, algorithms, comparables, memoranda, pictures, and

investigative reports utilized or relied upon by the Defendant in disqualifying the Plaintiffs from

participating as a retail food store in the Supplemental Nutrition Assistance Program. As of this

writing, Plaintiffs have never before been provided all the information upon which the original

decision to disqualify them was made. The Plaintiffs cannot rebut the Defendant’s evidence

without this information.

   b) All household data for any and all persons or participants that are listed in the Attachments

to the Charging Letter, or the timeframe listed in the Charging Letter and encompassing the

Attachments thereto. As of this writing, Plaintiffs have never before been provided this

information, and is unable to rebut the Defendant’s evidence.

   c) All transaction data for any store that the Plaintiff’s store was compared to for purposes of

determining what transactions should be included in the Attachments to the Charging Letter.

Plaintiffs expert would be required to conduct a data analysis to complete a comparison of

“baseline” stores in order to determine whether or not the Plaintiffs were in fact operating outside

normal range of transactions for similarly situated businesses. While summaries and bar graphs

were selected for inclusion by the Defendant in is Administrative Record, the raw data was

excluded.

   d) Any and all investigative reports pertaining to the Plaintiff and relating to the transactions

set forth in the Charging Letter, to include, but not be limited to pictures, affidavits, notes,

memoranda and communication. This information is very important to Plaintiffs defense as it seeks




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to identify any other investigations that the Department conducted into the Plaintiffs’ operations

which may also show a pattern of regulatory compliance.

      e) Any and all statistical case studies upon which the Defendant based its finding of

trafficking in the instant matter. The Defendant contends in the Administrative Review that the

two ALERT patterns utilized by the Defendant in this matter are correlated to trafficking in SNAP

benefits as a result of a Department data analysis. If the Defendant has a study/analysis that

correlated the two, it would be a direct contradiction of what the Defendant has previously testified

to.

      f) Any and all investigative case studies upon which the Defendant based its finding of

trafficking in the instant matter. The Defendant contends in the Administrative Review that the

two ALERT patterns utilized by the Defendant in this matter are correlated to trafficking in SNAP

benefits as a result of a Department data analysis. If the Defendant has a study/analysis that

correlated the two, it would be a direct contradiction of what the Defendant has previously testified

to.

      g) Any and all statistical case studies showing a link between “trafficking” as defined by the

regulations in 7 C.F.R. §271.2 and “multiple transactions [that] were made from individual benefit

accounts in unusually short time frames.” The Defendant contends in the Administrative Review

that the two ALERT patterns utilized by the Defendant in this matter are correlated to trafficking

in SNAP benefits as a result of a Department data analysis. If the Defendant has a study/analysis

that correlated the two, it would be a direct contradiction of what the Defendant has previously

testified to.

      h) Any and all statistical case studies showing a link between “trafficking” as defined by the

regulations in 7 C.F.R. §271.2 and “excessively large purchase transactions made from recipient




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accounts. As previously noted, which bears repeating, Plaintiffs’ have never before received all

the information upon which the original decision to disqualify them was based. The Plaintiffs

cannot fully rebut the Defendant’s evidence without this information.

   i) Any and all statistical case studies showing a link between “trafficking” as defined by the

regulations in 7 C.F.R. §271.2 and “the majority or all of individual recipient benefits were

exhausted in unusually short periods of time.” As previously noted, which bears repeating,

Plaintiffs’ have never before received all the information upon which the original decision to

disqualify them was based. The Plaintiffs cannot fully rebut the Defendant’s evidence without this

information.

   j) Any and all internal memoranda, processes, guidelines, guidebooks, or other such

documentation upon which the Defendant’s Analysts and Section Chiefs are to rely in evaluating

charges of trafficking, sale of ineligible items, and issuance of credit in ALERT data based cases.

As previously noted, which bears repeating, Plaintiffs’ have never before received all the

information upon which the original decision to disqualify them was based. The Plaintiffs cannot

fully rebut the Defendant’s evidence without this information.

   k) Any and all training materials and documentation used for new employees in the position

of USDA FNS Retailer Operation Division Analyst. As previously noted, which bears repeating,

Plaintiffs’ have never before received all the information upon which the original decision to

disqualify them was based. The Plaintiffs cannot fully rebut the Defendant’s evidence without this

information.

   l) A copy of the FNS Standard Operating Procedures. As previously noted, which bears

repeating, Plaintiffs’ have never before received all the information upon which the original




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decision to disqualify them was based. The Plaintiffs cannot fully rebut the Defendant’s evidence

without this information.

   m) Any and all store evaluations, inspections, investigations, Retailer Investigation Branch

reports, ALERT reports, ALERT data, and STARS data for any and all retailers to which the

Plaintiff was compared. The data requested in this section includes information from January

2016-until the present date. As previously noted, which bears repeating, Plaintiffs’ have never

before received all the information upon which the original decision to disqualify them was based.

The Plaintiffs cannot fully rebut the Defendant’s evidence without this information. These

documents will be helpful in ensuring that no relevant information or documentation relied on by

the Defendants are discovered.

   n) Any and all reports, statistical analyses, memoranda and the like pertaining to the shopping

habits of typical SNAP participant households which are the product of the Defendant’s studies

since 2008. Plaintiffs’, upon information and belief, believes that additional studies were

performed in 2016-2018; thus, this information is relevant to Plaintiffs being able to meet its

burden in this case.

   o) Any and all documentary evidence upon which the Defendant intends to rely to support its

case that the Plaintiff was trafficking in SNAP benefits. This category is a general request for any

other documents which the Defendant’s may contend support their position and will be utilized

herein.

   p) All curriculum vitae of any expert that the Defendant intends to list as a witness at trial.

   q) Specific personal identifying information, including name, address, phone number, and

EBT card number is known by state agencies that issue EBT cards to SNAP beneficiaries. This




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information will be helpful in identifying the customers that the Defendants are stating received

cash, in lieu, of food. This information is germane to Plaintiffs being able to meet their proof.

   Furthermore, Plaintiffs also seeks to serve written discovery on the Defendant, to take the

deposition, pursuant to Fed. R. Civ. P. 30(b)(6), of the FNS designee(s) with knowledge regarding

its “Ineligible Firms” regulation, and to take the deposition of the FNS Administrative Review

Officer (“ARO”) who issued the FAD. In addition, Plaintiff will seek to depose the ALERT System

Administrator. This limited discovery is likely to uncover FNS’s issuance, guidance,

communications, and other records relating to FNS’s “Ineligible Firms” regulation, including how,

if at all, FNS interpreted the term “home consumption.” It is also likely to confirm that the

Defendant has not reasonable evidence to support its charges that the Plaintiffs were trafficking

food stamps.

   Additional depositions may be necessary for yet-to-be-identified SNAP participants to

ascertain why they made the purchase that they did in the timeframe in which they were made. To

date, all evidence pertaining to household preferences has been generic and limited to the personal

knowledge of the Plaintiffs. The aforementioned discovery is germane to this case, and to Plaintiffs

ability to meet his burden herein.

   Plaintiffs are entitled to de novo review, See 7 U.S.C. § 2023(a)(15). The issue before this

Court is not whether the Defendant “fully considered” the Plaintiffs’ evidence, or whether the

Defendant merely made “an error,” or even whether the Defendant acted with evidentiary support

when it “ultimately rejected” the Plaintiffs’ evidence in favor of its own preferred conclusions.

Rather, the Court must ultimately decide if trafficking actually occurred.

   The purported evidence submitted by the Defendant’s has not been subjected to testing, though,

discovery, depositions and cross examination. In support of its Motion for Summary Judgment,




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the Defendant’s relies on cases which suggest that this court should grant its motion without

permitting discovery.     The Defendant has presented not a scintilla of direct evidence to

demonstrate trafficking; only relying on hypothesis, innuendos, and speculation. Moreover, the

Defendant alleges that there were multiple transactions in short periods of time. A review of the

record does not support this assertion. The mechanism of calculations is also disputed and

questionable, at this stage in the litigation. It is likewise clear that the Plaintiffs business has

sufficient food items in its store, and not mere snacks, as described by the Defendant. For all of

these reasons, Plaintiffs respectfully request that this court defer ruling on the Summary Judgment

Motion until they have had sufficient time to conduct discovery.

   d) The Data Provided Does Not Support Trafficking Thus Likewise The Decision to
      Permanently Disqualify Plaintiffs from the Snap Program Was Arbitrary and
      Capricious

   The Defendant argues that trafficking was apparent because of (i) repetitive transactions in a

period by the same household/account and (ii) high-dollar transactions. As stated supra, which

bears repeating, the Defendant did not conduct even a basic investigation. “Investigation," is

defined as "[a] detailed inquiry or systematic examination." Am. Heritage Dictionary 920 (4th

ed.2000); see Webster's Third New Int'l Dictionary 1189 (1981) (defining "investigation" as "a

searching inquiry"). Not contacting cardholders of the alleged suspicious transactions, and then

arguing that the data supported trafficking is absurd. The best evidence in this case, and cases like

it, is to consider statements made by the cardholders themselves. Justice required this basic

investigation. See MusclePHARM CORPORATION v. LIBERTY INSURANCE UNDERWRITERS,

INC., No. 16-1462 (10th Cir. Oct. 17, 2017 (The dictionary definition of "investigation" is "[t]he

activity of trying to find out the truth about something."). Plaintiffs argue, and therefore avers, that

had the Defendant’s spoken with cardholders, the statements could have been determinative if the




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offenses suspected actually occurred. Relying solely on 1 site visit, and a review of transactions,

to permanently. As of this writing, the Defendant’s never provided Plaintiffs with the identity of

the cardholders so that he could have obtained affidavits and statements to defend themselves

against the allegations set forth in the FAD.

   Furthermore, eighteen (18) of Plaintiffs customers affirmed that they have never witnessed

trafficking at the location, and who, have stated the amounts that have spent at the store. Exhibit

C. Moreover, Plaintiffs relies on the Affidavits of Hersham A. Ghaleb and Mahed A. Ghaleb, in

support of its opposition to the Defendant's Summary Judgment Motions. See Exhibits D and E.

There are clearly disputed facts barring summary judgment at this stage, and this due process

requires that Plaintiffs be allowed meaningful discovery.


   e) The Lack of Investigation and Subsequent Decision to Permanently Disqualify
      Plaintiffs Violated Plaintiffs Due Process Rights and Amounted to Trial By Ambush.


   Plaintiffs due process rights were violated when the Defendant failed to contact witnesses to

conduct a thorough investigation into the allegations of trafficking. Instead, they rely on statistical

algorithm, as proof, that the Plaintiffs violated the law. This inefficient investigation deprived the

Plaintiffs of their procedural and substantive due process, inasmuch, they have not been deprived

of income, without a meaningful opportunity to be heard. Plaintiffs were likewise guaranteed equal

protection under the constitution for which they were also deprived, not just because of the

permanent disqualification, but also because of the rudimentary investigation engaged in by the

Defendant’s. Furthermore, because of the lack of an investigation, Plaintiffs due process rights

were violated because they are not deprived from bidding on governmental contracts and obtaining

other federal services.




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                                  REQUEST FOR HEARING

       Plaintiffs, pursuant to Local Rule 105(6), respectfully request that a hearing been scheduled

at a date and time certain so that the parties may engage in oral arguments.

       WHEREFORE, Plaintiffs respectfully pray that this Honorable Court deny the Defendant’s

Motion to Dismiss and Defer Defendant’s Summary Judgment motion, thereby, permitting the

Plaintiffs to conduct discovery, consistent with the Federal Rules of Civil Procedure to properly

and fully respond therein.

                                                     Respectfully Submitted,

                                                     THE LAW OFFICES
                                                     OF JESSIE LYONS CRAWFORD, LLC

                                                     /s/ Jessie Lyons Crawford
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